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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


  ONTARIO TEACHERS’ PENSION PLAN
  BOARD, Individually and as Lead Plaintiff                No. 3:17-cv-558 (SRU)
  on behalf of all others similarly situated;
  and

  ANCHORAGE POLICE & FIRE
  RETIREMENT SYSTEM, Individually and
  as Named Plaintiff on behalf of all
  similarly-situated bond purchasers,

          Plaintiffs,

          v.

  TEVA PHARMACEUTICAL
  INDUSTRIES LTD.; EREZ VIGODMAN;
  EYAL DESHEH; SIGURDUR
  OLAFSSON; DEBORAH GRIFFIN;
  KÅRE SCHULTZ; MICHAEL
  MCCLELLAN; YITZHAK PETERBURG;
  AND TEVA PHARMACEUTICAL
  FINANCE NETHERLANDS III B.V.,

          Defendants.

                             CONFERENCE MEMORANDUM

       On March 12, I held a telephonic status conference on the record with Joseph A. Fonti

and J. Christopher Rooney, attorneys for the plaintiffs, Ontario Teachers’ Pension Plan Board

and Anchorage Police & Fire Retirement System; and Jason D. Frank, Emily Renshaw, Elizabeth

G. Hays, and Jill M. O’Toole, attorneys for the defendants, Teva Pharmaceutical Industries, Ltd.;

Erez Vigodman; Eyal Desheh; Sigurdur Olafsson; Deborah Griffin; Kåre Schultz; Michael

McClellan; Yitzhak Peterburg; and Teva Pharmaceutical Finance Netherlands III B.V. The
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above-noted defense counsel represent the Defendants in all the Teva-related actions 1 except

that, in two, 2 Jill O’Toole alone represents the Defendants. Also present were numerous

plaintiffs’ counsel in other Teva-related actions that I recently consolidated into this case. Those

counsel were:

                         Case                                                      Counsel

                                                             Jonathan D. Uslaner
OZ ELS Master Fund, Ltd., et al. v. Teva
Pharm. Indus., Ltd., et al., No. 3:17-cv-1314

                                                             Matthew L. Mustokoff 3
Nordea Investment Mgmt. AB v. Teva Pharm.
Industries Ltd., et al., No. 3:18-cv-1681                    Willam H. Clendenen, Jr.

Revenue, et al. v. Teva Pharm. Indus., Ltd., et
al., No. 3:18-cv-1721

                                                             Jonathan Park
Pacific Funds Series Trust, et al. v. Teva
Pharm. Indus., Ltd., et al., No. 3:18-cv-1956

Schwab Capital Trust, et al. v. Teva Pharm.
Indus., Ltd., et al., No. 3:19-cv-192

Stichting PGGM Depositary, et al. v. Teva
Pharm. Indus., Ltd., et al., No. 3:19-cv-1173

Internationale Kapitalanlagegesellschaft mbH
v. Teva Pharm. Indus., Ltd., et al., No. 3:20-cv-
83 4

                                                             Carol V. Gilden
Public School Teachers Pension and Ret. Sys.
of Chicago v. Teva Pharm. Indus., Ltd., No.
3:19-cv-175

Oregon v. Teva Pharm. Indus., Ltd., et al., No.

1
  See Consolidation Order, Doc. No. 341, at 1–2 nn. 2–3; 35.
2
  See OZ ELS Master Fund, Ltd., et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:17-cv-1314; Internationale
Kapitalanlagegesellschaft mbH v. Teva Pharm. Indus., Ltd., et al., No. 3:20-cv-83.
3
  Mr. Mustokoff does not yet appear on the docket as representing the Plaintiff in those cases.
4
  Mr. Park does not yet appear on the docket as representing the Plaintiff in this case.

                                                         2
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3:19-cv-657

                                                              Angel P. Lau
Phoenix Ins. Co., Ltd., et al. v. Teva Pharm.
Indus., Ltd., et al., No. 3:19-cv-449                         Christopher Chad Johnson

Harel Pension and Provident Ltd., et al. v.                   Matthew J. Jasinski
Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-
656

                                                              Michael J. Wernke
Mivtachim The Workers Social Ins. Fund Ltd.,
et al. v. Teva Pharm. Indus., Ltd., et al., No.
3:19-cv-513

Clal Ins. Co., Ltd., et al. v. Teva Pharm. Indus.,
Ltd., et al., No. 3:19-cv-543

Migdal Ins. Co., Ltd., et al. v. Teva Pharm.
Indus., Ltd., et al., No. 3:19-cv-655

Migdal Mutual Funds, Ltd. v. Teva Pharm.
Indus., Ltd., et al., No. 3:19-cv-923

Psagot Mutual Funds, Ltd., et al. v. Teva
Pharm. Indus., Ltd., et al., No. 3:19-cv-1167

                                                              Michael Hampson
Highfields Capital I LP, et al. v. Teva Pharm.
Indus., Ltd., et al., No. 3:19-cv-603

                                                              Reed Kathrein 5
Employees’ Ret. Sys. of St. Petersburg v. Teva
Pharmaceutical Indus. Ltd., No. 3:19-cv-1768


         The purpose of the call was to discuss various issues moving forward in the consolidated

Teva-related actions. Specifically, we discussed the importance of clear lines of communication

between the Court and the parties. To that end, Mr. Mustokoff assured me that the Direct Action

Plaintiffs (as defined in my Consolidation Order) would confer and choose a single Liaison


5
  Mr. Kathrein represents a movant in that case (HMG Global Initiative, Inc.), not the Plaintiff, and I recently
denied HMG’s motion to intervene in this action. See Consolidation Order, Doc. No. 341, at 34.

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Counsel to communicate with Lead Counsel for the Lead Plaintiff in this matter and me on

matters relating to the Direct Action Plaintiffs. Mr. Fonti volunteered that, as Lead Counsel for

the Lead Plaintiffs in this action, he would assume the responsibility of communicating among

all the Putative Class Action plaintiffs and with Liaison Counsel.

       Next, we discussed several issues related to discovery. First, we considered the

obligation of the parties in this action to share the discovery already produced with the parties in

the other Teva-related actions and the scope of how that discovery may be used in those actions.

Relatedly, we took up whether Lead Counsel for the Lead Plaintiff in this action would maintain

a single discovery database. Next, we discussed the proper framework for interrogatories,

document requests, depositions, and expert reports. We also considered a briefing schedule for

forthcoming motions to dismiss Israeli law claims and claims barred by a statute of repose. I will

resolve all those issues in some detail in a forthcoming Order.

       Finally, Mr. Fonti and Mr. Frank informed me that the early stages of document

discovery have been going smoothly.




       So ordered.

Dated at Bridgeport, Connecticut, this 13th day of March 2020.

                                                              /s/ STEFAN R. UNDERHILL
                                                              Stefan R. Underhill
                                                              United States District Judge




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